                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                    )
Husband and Wife,                                   )
                                                    )
        Plaintiffs,                                 )      Civil Action No.: 3:17-cv-00725
                                                    )
v.                                                  )      Jury Demand
                                                    )
DR. CLARK ARCHER and HCA HEALTH                     )      Judge Campbell
SERVICES OF TENNESSEE, INC. d/b/a                   )      Magistrate Judge Newbern
STONECREST MEDICAL CENTER,                          )
                                                    )
        Defendants.                                 )

         PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION IN LIMINE #7

        The Plaintiffs do not oppose this Motion, so long as it precludes either side from

 introducing the note into evidence.

        As the Defendant notes: the note is inadmissible hearsay because “much of the contents of

 the note were gathered from other individuals” and “this note does not have any indicia of

 reliability or equivalent circumstance guarantees of trustworthiness…” These arguments apply

 equally even if the Defendant becomes the proponent of the evidence.




 Case 3:17-cv-00725         Document 133      Filed 12/21/18     Page 1 of 2 PageID #: 1790
                                               RESPECTFULLY SUBMITTED,



                                                s/ Mark Hammervold
                                               Brian Cummings, #19354
                                               Cummings Law
                                               4235 Hillsboro Pike, #300
                                               Nashville, TN 37215
                                               Phone: 615-800-6822
                                               Fax: 615-815-1876
                                               brian@cummingsinjurylaw.com

                                               Mark Hammervold, #31147
                                               Hammervold, PLC
                                               315 Deaderick Street, Suite 1550
                                               Nashville, TN 37238
                                               (615) 928-2466 (phone)
                                               (615) 928-2264 (fax)
                                               mark@hammervoldlaw.com

                                               Attorneys for Plaintiffs


                                 CERTIFICATE OF SERVICE

        I certify that I served all parties in this matter through counsel of record listed below with
the foregoing by CM/ECF on December 21, 2018:

         James E. Looper, Jr.
         Hall Booth Smith, PC
         Fifth Third Center
         424 Church Street, Suite 2950
         Nashville, TN 37219
         (615) 313-9911 (phone)
         (615) 313-8008 (fax)
         jlooper@hallboothsmith.com

         Counsel for the Defendant
         Dr. Clark Archer


                                                      s/ Mark Hammervold
                                                      Mark Hammervold




Case 3:17-cv-00725          Document 133        Filed 12/21/18      Page 2 of 2 PageID #: 1791
